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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
      STRIKE 3 HOLDINGS, LLC,
 8                           Plaintiff,
                                                       C17-1730 TSZ
 9         v.                                          C17-1731 TSZ
                                                       C17-1732 TSZ
10    JOHN DOE (71.231.142.237);                       C17-1733 TSZ
      JOHN DOE (73.225.38.130);
11    JOHN DOE (76.22.118.13);                         MINUTE ORDER
      JOHN DOE (50.54.142.188);
12
                             Defendants.
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14        The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
15
          (1)     The Orders, docket no. 7 in C17-1730, docket no. 5 in C17-1731, docket
   no. 7 in C17-1732, and docket no. 5 in C17-1733, granting plaintiff leave to serve a
16
   subpoena on the Internet service provider (“ISP”) for each defendant John Doe, are
   hereby AMENDED as follows.
17
                  (a)     To the extent that an ISP has not already provided to plaintiff or its
18        attorney material responsive to a subpoena issued pursuant to the Orders identified
          above, the ISP shall not disclose any such responsive material to plaintiff or its
19        counsel, but instead shall send the responsive material, in an envelope prominently
          marked “CONFIDENTIAL SUBSCRIBER INFORMATION -- TO BE FILED
20        UNDER SEAL,” addressed to the Clerk of the Court, United States District Court
          for the Western District of Washington, 700 Stewart Street, Seattle, WA 98101.
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                  (b)     If an ISP has provided responsive material to the Court rather than
22        plaintiff or its attorney, plaintiff may serve summons and complaint using the

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 1         following procedure. Plaintiff’s counsel may submit a blank summons to the
           Clerk, who will interlineate the affected subscriber’s identity and service address
 2         on the summons and place the completed summons in a sealed envelope for return
           to plaintiff’s counsel. Plaintiff’s counsel shall not open or otherwise attempt to
 3         view the contents of such envelope before delivering it, along with a copy of this
           Order, to the process server of plaintiff’s choosing. The process server shall keep
 4         the affected subscriber’s identity and service address confidential and shall not
           disclose such information to plaintiff or its attorneys. The process server shall
 5         send any affidavit or declaration of either service or non-service in an envelope
           prominently marked “CONFIDENTIAL SUBSCRIBER INFORMATION -- TO
 6         BE FILED UNDER SEAL,” addressed to the Clerk of the Court, United States
           District Court for the Western District of Washington, 700 Stewart Street, Seattle,
 7         WA 98101.

 8                (c)    Plaintiff shall not amend its pleadings to substitute a subscriber as a
           defendant or publicly disclose any defendant’s real identity unless specifically
 9         authorized to do so by the Court. Plaintiff and its attorneys shall not communicate
           directly with any defendant John Doe for any purpose until further order of the
10         Court.

11                 (d)   If an ISP to which a subpoena was issued pursuant to the Orders
           identified above has not yet provided responsive materials, plaintiff shall serve a
12         copy of this Minute Order on each such ISP and shall file proof of such service
           within three (3) days of the date of this Minute Order.
13       (2)    The deadlines for a Rule 26(f) conference, exchange of initial disclosures,
   and submission of a Joint Status Report that were set in C17-1731 and C17-1733 are
14 STRICKEN, and will be reset, if appropriate, at a later date.

15         (3)    The Clerk is DIRECTED to send a copy of this Minute Order to all counsel
   of record. Plaintiff’s counsel is DIRECTED to provide a copy of this Minute Order
16 (i) along with any blank summons submitted to the Clerk, and (ii) along with any
   summons provided under seal to the selected process server.
17
           Dated this 25th day of January, 2018.
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19                                                   William M. McCool
                                                     Clerk
20
                                                     s/Karen Dews
21                                                   Deputy Clerk

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     MINUTE ORDER - 2
